Case 0:05-cr-60203-JEM Document 391 Entered on FLSD Docket 06/20/2007 Page 1 of 2




                           UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF FLORIDA

                              Case Number: 05-60203-CR-MARTINEZ

  UNITED STATES OF AMERICA,

          Plaintiff,
  vs.

  EDMOND GRIGORIAN,

        Defendant.
  _____________________________________/

        ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

         THIS CAUSE came before the Court upon the Report and Recommendation issued by United

 States Magistrate Judge Peter R. Palermo, on June 7, 2007. The Report and Recommendations

 recommends to this Court, that counsel Herman Frank Rubio, be paid $38,332.70 for his

 representation of the defendant in this matter. The parties were afforded the opportunity to file

 objections to the Report and Recommendation, however none were filed. Accordingly, the Court has

 considered the Report and Recommendation, the pertinent parts of the record, for the reasons stated

 in the Report of the Magistrate Judge, and upon independent review of the file and being otherwise

 fully advised in the premises, it is

         ORDERED AND ADJUDGED that United States Magistrate Judge Peter R. Palermo's

 Report and Recommendation is hereby ADOPTED and AFFIRMED.

         DONE AND ORDERED in Chambers at Miami, Florida, this 19               day of June, 2007.


                                                     _______________________________________
                                                     JOSE E. MARTINEZ
                                                     UNITED STATES DISTRICT JUDGE
Case 0:05-cr-60203-JEM Document 391 Entered on FLSD Docket 06/20/2007 Page 2 of 2


 Copies provided to:
 Magistrate Judge Peter R. Palermo
 Herman Frank Rubio, Esq
 Lucy Lara, CJA Administrator




                                       -2-
